
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-09-398-CV

ELIZABETH DAVILA PAYNE	APPELLANT



V.



PATRICK D. WEST	APPELLEE



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FROM THE 325TH DISTRICT COURT 
OF TARRANT COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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On February 10, 2010, we notified appellant that her brief had not been filed as required by Texas Rule of Appellate Procedure 38.6(a). &nbsp;
Tex. R. App. P.
 38.6(a). &nbsp;We stated we could dismiss the appeal for want of prosecution unless appellant or any party desiring to continue this appeal filed with the court within ten days a response showing grounds for continuing the appeal. &nbsp;
See
 Tex. R. App. P. 42.3. &nbsp;We have not received any response.

Because appellant’s brief has not been filed, we dismiss the appeal for want of prosecution. &nbsp;
See
 
Tex. R. App. P.
 38.8(a), 42.3(b), 43.2(f).

Appellant shall pay all costs of this 
appeal, for which let execution issue.



PER CURIAM 		





PANEL: &nbsp;MCCOY, LIVINGSTON, and MEIER, JJ.



DELIVERED: &nbsp;March 18, 2010

FOOTNOTES
1:See 
Tex. R. App. P.
 47.4.




